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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MAINE


SUSAN KURYLO,

               Plaintiff,

       vs.                                                Civil No. 15-0015-NT

SULLIVAN RIZZO,

               Defendant



     ANSWER, AFFIRMATIVE DEFENSES AND JURY TRIAL DEMAND

       Defendant Sullivan Rizzo, by and through counsel, hereby responds to the

Plaintiff’s Complaint as follows:

       1.      The allegations contained in this paragraph of the Plaintiff’s Complaint

constitute assertions of law to which no response is required. Alternatively, the

Defendant is without sufficient information or knowledge to form a belief as to the truth

of the allegations contained in this paragraph of Plaintiff’s Complaint and, accordingly,

denies same.

                                        PARTIES

       2.      The Defendant admits the Plaintiff was over 18 at the time of the incident

alleged in the Complaint. The Defendant is without sufficient information or knowledge

to form a belief as to the truth of the remaining allegations contained in this paragraph

of Plaintiff’s Complaint and, accordingly, denies same.

       3.      The Defendant admits that at the time of the incident alleged in the

Complaint he was working for Oxford County as a deputy. The remaining allegations

contained in this paragraph of the Plaintiff’s Complaint constitute assertions of law to
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which no response is required. Alternatively, the Defendant is without sufficient

information or knowledge to form a belief as to the truth of the remaining allegations

contained in this paragraph of Plaintiff’s Complaint and, accordingly, denies same.

                                STATEMENT OF FACTS

       4.      The Defendant admits that as a result of the Plaintiff’s actions on July 29,

2013 he issued summonses to her. The Defendant further admits that he physically

restrained the Plaintiff after she used force against him. The Defendant denies the

remaining allegations contained in this paragraph of the Plaintiff’s Complaint.

       5.      The Defendant admits the allegations contained in this paragraph of the

Plaintiff’s Complaint.

       6.      The allegations contained in this paragraph of the Plaintiff’s Complaint

constitute assertions of law to which no response is required. Alternatively, the

Defendant is without sufficient information or knowledge to form a belief as to the truth

of the allegations contained in this paragraph of Plaintiff’s Complaint and, accordingly,

denies same.

       7.      The allegations contained in this paragraph of the Plaintiff’s Complaint

constitute assertions of law to which no response is required. Alternatively, the

Defendant is without sufficient information or knowledge to form a belief as to the truth

of the allegations contained in this paragraph of Plaintiff’s Complaint and, accordingly,

denies same.

       8.      The Defendant admits the allegations contained in this paragraph of the

Plaintiff’s Complaint.




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       9.     The Defendant admits that at some point the Plaintiff entered the home on

the property. The Defendant is without sufficient information or knowledge to form a

belief as to the truth of the remaining allegations contained in this paragraph of

Plaintiff’s Complaint and, accordingly, denies same.

       10.    The Defendant denies the allegations contained in this paragraph of the

Plaintiff’s Complaint.

       11.    The Defendant denies the allegations contained in this paragraph of the

Plaintiff’s Complaint.

       12.    The Defendant denies the allegations contained in this paragraph of the

Plaintiff’s Complaint.

       13.    The Defendant denies the allegations contained in this paragraph of the

Plaintiff’s Complaint.

       14.    The Defendant denies the allegations contained in this paragraph of the

Plaintiff’s Complaint.

       15.    The Defendant denies the allegations contained in this paragraph of the

Plaintiff’s Complaint.

       16.    The Defendant denies the allegations contained in this paragraph of the

Plaintiff’s Complaint.

       17.    The Defendant denies the allegations contained in this paragraph of the

Plaintiff’s Complaint.

       18.    The Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Complaint and, accordingly, denies same.



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       19.    The Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Complaint and, accordingly, denies same.

       20.    The Defendant denies the allegations contained in this paragraph of the

Plaintiff’s Complaint.

       21.    The Defendant denies the allegations contained in this paragraph of the

Plaintiff’s Complaint.

       22.    The Defendant admits he applied handcuffs to the Plaintiff. The

Defendant is without sufficient information or knowledge to form a belief as to the truth

of the remaining allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, denies same.

       23.    The Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Complaint and, accordingly, denies same.

       24.    The Defendant denies the allegations contained in this paragraph of the

Plaintiff’s Complaint.

       25.    The Defendant admits that the Plaintiff requested medical attention and

that an ambulance was called. The Defendant denies the remaining allegations

contained in this paragraph of the Plaintiff’s Complaint.

       26.    The Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Complaint and, accordingly, denies same.




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       27.     The Defendant admits the allegations contained in this paragraph of the

Plaintiff’s Complaint.

       28.     The Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Complaint and, accordingly, denies same.

                                  CLAIMS FOR RELIEF

  COUNT 1: VIOLATION OF RIGHTS UNDER 42 U.S.C. § 1983 FOR FALSE
                            ARREST

       29.     The Defendant repeats his responses to the preceding paragraphs of

Plaintiff’s Complaint.

       30.     The allegations contained in this paragraph of the Plaintiff’s Complaint

constitute assertions of law to which no response is required. Alternatively, the

Defendant is without sufficient information or knowledge to form a belief as to the truth

of the allegations contained in this paragraph of Plaintiff’s Complaint and, accordingly,

denies same.

       31.     The Defendant denies the allegations contained in this paragraph of the

Plaintiff’s Complaint.

       32.     The Defendant denies the allegations contained in this paragraph of the

Plaintiff’s Complaint.

       33.     The Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Complaint and, accordingly, denies same.




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      COUNT 2: VIOLATION OF RIGHTS UNDER 42 U.S.C. § 1983 FOR
                        EXCESSIVE FORCE

       34.     The Defendant repeats his responses to the preceding paragraphs of

Plaintiff’s Complaint.

       35.     The allegations contained in this paragraph of the Plaintiff’s Complaint

constitute assertions of law to which no response is required. Alternatively, the

Defendant is without sufficient information or knowledge to form a belief as to the truth

of the allegations contained in this paragraph of Plaintiff’s Complaint and, accordingly,

denies same.

       36.     The Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Complaint and, accordingly, denies same.

  COUNT 3: VIOLATION OF RIGHTS UNDER 42 U.S.C. § 1983 MALICIOUS
                         PROSECUTION

       37.     The Defendant repeats his responses to the preceding paragraphs of

Plaintiff’s Complaint.

       38.     The Defendant denies the allegations contained in this paragraph of the

Plaintiff’s Complaint.

       39.     The Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Complaint and, accordingly, denies same.




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                               AFFIRMATIVE DEFENSES

       1.     The Defendant has at all times acted in good faith and without knowledge

that his conduct violated any clearly established constitutional or statutory rights of the

Plaintiff.

       2.     The Defendant’s conduct did not violate any clearly established

constitutional or statutory rights of the Plaintiff.

       3.     No reasonable person would have known that the Defendant’s conduct

violated any clearly established constitutional or statutory rights of the Plaintiff.

       4.     To the extent that the Plaintiff endeavors to make a state claim grounded

in tort, the claim is barred by Plaintiff's failure to comply with the notice provisions of

the Maine Tort Claims Act, 14 M.R.S.A. § 8107.

       5.     To the extent that the Plaintiff endeavors to make a state claim grounded

in tort, the claim is barred by the personal immunity provisions provided to the

Defendant by the Maine Tort Claims Act, 14 M.R.S.A. § 8111(1)(C), (D) and (E).

       6.     The Plaintiff’s recoverable damages for tort claims are capped by the

provisions of the Maine Tort Claims Act.

       7.     To the extent that the Plaintiff’s Complaint seeks to impose liability on the

Defendant in his representative capacity, the Complaint fails to state a claim upon which

relief may be granted.

       8.     The Plaintiff’s own conduct was the sole or a contributing cause of her

injuries.

       9.     The Plaintiff’s Complaint, in whole or in part, fails to state a claim upon

which relief may be granted.



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       10.      The Plaintiff’s claims are barred for the reason that the Defendant is not

liable under a theory of respondeat superior for the actions of his agents.

       11.      The Plaintiff’s claims are barred for the reason that the Defendants’

actions do not constitute deliberate indifference or conduct which is shocking to the

conscience.

       12.      The Plaintiff’s claims are barred for the reason that the allegations in the

Complaint allege simple negligence and the conduct complained of is not the type

contemplated under 42 U.S.C. § 1983.

       13.      The Plaintiff’s claims are barred, in whole or in part, by the doctrine of

immunity.

       14.      The Plaintiff’s claims are barred, in whole or in part, by the doctrine of

qualified immunity.

       15.      The Plaintiff’s claims are barred, in whole or in part, by the applicable

statutes of limitations.

       16.      To the extent that the Plaintiff seeks injunctive or declaratory relief, the

Plaintiff has no standing.

       17.      The Plaintiff has adequate remedies under State law, and therefore no

action lies under 42 U.S.C. §1983 in the Maine Constitution or the United States

Constitution.

       18.      The Defendant reserves the right to demonstrate that the Plaintiff has

failed to mitigate damages.




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       19.    To the extent the Plaintiff’s alleged injuries result from conditions that

pre-existed the events alleged in the Complaint, the Defendant cannot be held liable for

the alleged damages associated with those alleged injuries.

                                       JURY DEMAND

       Pursuant to Local Rule 38 and Federal Rule of Civil Procedure 38(b), the

Defendant requests a trial by jury on all claims and issues properly tried to a jury.

       WHEREFORE, Defendant Sullivan Rizzo demands judgment in his favor with

regard to all claims of the Plaintiff’s Complaint, including an award of costs and

attorneys’ fees, if appropriate, and such other relief as the Court deems just.

       Dated at Portland, Maine this 27th day of February, 2015.

                                     Attorneys for Defendant Sullivan Rizzo
                                     MONAGHAN LEAHY, LLP
                                     95 Exchange Street, P.O. Box 7046
                                     Portland, ME 04112-7046
                                     (207) 774-3906

                            BY:      /s/ John J. Wall, III
                                     John J. Wall, III


                             CERTIFICATE OF SERVICE

       I hereby certify that on February 27, 2015, I electronically filed Answer,
Affirmative Defenses and Jury Trial Demand using the CM/ECF system, which
will provide notice to me and the following other counsel of record: Hunter J. Tzovarras
(mainedefender@gmail.com).

       Dated at Portland, Maine this 27th day of February, 2015.

                                     Attorneys for Defendant Sullivan Rizzo
                                     MONAGHAN LEAHY, LLP
                                     95 Exchange Street, P.O. Box 7046
                                     Portland, ME 04112-7046
                                     (207) 774-3906

                            BY:      /s/ John J. Wall, III
                                     John J. Wall, III

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